    EXHIBIT D

Lederman Declaration
                        IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

In re:                                                         )        Chapter 11
                                                               )
RTI HOLDING COMPANY, LLC,1                                     )        Case No. 20-12456 (JTD)
                                                               )
                                    Debtors.                   )        (Joint Administration Requested)

     DECLARATION OF SHAWN LEDERMAN IN SUPPORT OF APPLICATION OF
           PURSUANT TO SECTION 327(a) OF THE BANKRUPTCY CODE,
      RULE 2014 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
    LOCAL RULE 2014-1 FOR AUTHORIZATION TO EMPLOY AND RETAIN BAKER
              DONELSON BEARMAN CALDWELL & BERKOWITZ, PC,
                    AS SPECIAL COUNSEL FOR THE DEBTORS
      AND DEBTORS IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE

         I, Shawn Lederman, declare under penalty of perjury as follows:

         1.     I am the Chief Executive Officer of debtor and debtor in possession Ruby Tuesday,

Inc. (“RTI”), located at 333 East Broadway Ave., Maryville, TN 37804.

1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are as
follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD, LLC
(6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC (8738);
RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity, LLC
(7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.
          2.     I submit this declaration (the “Declaration”) in support of the Debtors’ Application

for Order Under Sections 327(e) of the Bankruptcy Code Authorizing the Employment and

Retention of Baker Donelson Bearman Caldwell & Berkowitz, PC, as Special Counsel to the

Debtors and Debtors in Possession Nunc Pro Tunc to the Petition Date (the “Application”).2

Except as otherwise noted, I have personal knowledge of the matters set forth herein.

                     The Debtors’ Selection of Baker Donelson as Special Counsel

          3.     Baker Donelson Bearman Caldwell & Berkowitz, PC (“Baker Donelson” or the

“Firm”) is proposed to serve as real estate lease, ERISA, labor and employment counsel,

including for litigation in these areas, to the Debtors. The Debtors recognize that a

comprehensive review process is necessary when selecting and managing special counsel. To

that end, the review process utilized by the Debtors here assessed potential counsel based on

their expertise in the relevant legal issues and in similar proceedings. Using this review process,

the Debtors retained Baker Donelson to serve as special counsel.

          4.     Ultimately, the Debtors retained Baker Donelson because of its extensive

experience in real estate, ERISA, and labor and employment issues, including litigation on these

issues, and because of its knowledge and experience in dealing with these issues as they relate to

the Debtors.. Thus, I believe that Baker Donelson is well qualified to represent the Debtors in

these chapter 11 cases in an efficient and timely manner.

                                                   Rate Structure

          5.     In my capacity as Chief Executive Officer, I am responsible for supervising outside

counsel retained by the Debtors in the ordinary course of business. Baker Donelson has

informed the Debtors that its rates are consistent between bankruptcy representations, including


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    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.


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related transactional and litigation services. Baker Donelson has informed the Debtors that its

current hourly rates apply to non-bankruptcy services, if any, provided by the Firm, unless a

contingent fee, mixed contingent fee, flat fee, or blended rate arrangement is agreed upon. The

Firm does not advise on bankruptcy matters and does not have different billing rates and terms

for non-bankruptcy engagements that can be compared to the billing rates and terms for the

Debtors’ engagement of Baker Donelson. As discussed below, I am also responsible for

reviewing the invoices regularly submitted by Baker Donelson, and can confirm that the rates

Baker Donelson charged the Debtors in the prepetition period are the same as the rates Baker

Donelson charged the Debtors in the postpetition period. Baker Donelson has informed the

Debtors the Firm’s standard hourly rates are subject to periodic adjustment in accordance with

the Firm’s practice.

                                          Cost Supervision

        6.    The Debtors and Baker Donelson have developed a prospective budget and staffing

plan for the postpetition period recognizing that, in larger chapter 11 cases, it is possible that

there may be a number of unforeseen fees and expenses that will need to be addressed by the

Debtors and Baker Donelson. The Debtors further recognize their responsibility to closely

monitor the billing practices of counsel to ensure the fees and expenses paid by the estates

remain consistent with the Debtors’ expectations and the exigencies of the chapter 11 cases. The

Debtors will timely review the invoices that Baker Donelson regularly submits.

        7.    The Debtors will continue to bring discipline, predictability, client involvement and

accountability to the counsel fee and expense reimbursement process. While every chapter 11

case is unique, the budgets will provide guidance on the period of time involved and the level of

attorneys and professionals that will work on the various matters.



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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: October 15, 2020                           Ruby Tuesday, Inc. et al.



                                                  Shawn Lederman
                                                  Chief Executive Officer




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